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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL TEXAS

ROTHSCHILD CONNECTED DEVICES                    §
INNOVATIONS, LLC                                §
                                                §
       Plaintiff,                               §             Case No: 2:15-cv-1573-JRG-RSP
                                                §
vs.                                             §             PATENT CASE
                                                §
SMARTLABS, INC. D/B/A INSTEON                   §
                                                §
       Defendant.                               §


                              FIRST AMENDED COMPLAINT

       Plaintiff Rothschild Connected Devices Innovations, LLC (“Plaintiff” or “RCDI”) files

this First Amended Complaint against Smartlabs, Inc. d/b/a Insteon (“Defendant” or “Insteon”)

for infringement of United States Patent No. 8,788,090 (hereinafter “the ‘090 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant Insteon is a corporation organized and

existing under the laws of the State of California, with its principal place of business located at

16542 Millikan Ave, Irvine, CA 92606. On information and belief, Insteon may be served



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through its agent for service of process Joe Dada at 1101 Berkshire Lane, Newport Beach, CA

92660.

         5.      On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in the state of

Texas, has conducted business in the state of Texas, and/or has engaged in continuous and

systematic activities in the state of Texas.

         6.      On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the Eastern

District of Texas.

                                               VENUE

         7.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391(c)

and 1400(b) because Defendant is deemed to reside in this district. In addition, and in the

alternative, Defendant has committed acts of infringement in this District.

                                    COUNT I
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,788,090)

         8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

         9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

         10.     Plaintiff is the owner by assignment of the ‘090 patent with sole rights to enforce

the ‘090 patent and sue infringers.

         11.     A copy of the ‘090 Patent, titled “System and Method for Creating a Personalized

Consumer Product,” is attached hereto as Exhibit A.

         12.     The ‘090 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.


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       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least claim 1, of the ‘090 patent by making, using, importing,

selling, and/or offering for sale a customizable personal home automation system and devices

covered by one or more claims of the ‘090 patent. Defendant has infringed and continues to

infringe the ‘090 patent in violation of 35 U.S.C. § 271.

       14.     Defendant sells, offers to sell, and/or uses home automation and security systems,

including, without limitation, the Insteon home automation system and related products. Such

products and systems include, without limitation, the Insteon Hub and Insteon Hub Pro,

networking equipment, apps, plug-in devices, lights, remotes, switches and keypads, sensors,

outlets, thermostats, cameras, audio equipment, and lighting control systems, and similar

systems and devices, which infringe at least Claim 1 of the ‘090 Patent. These systems and

devices allow a user to remotely customize the operation of components in a house, such as lights

or thermostats, for example. The user can customize the state and/or operation of these

components through the use of preferences controlled via a device, such as a smart phone. On

information and belief Defendant’s system include a remote server including a database, which

is configured to store the user’s customization preferences, and from which the customization

preferences are retrieved and transmitted to a communication module on the customized device.

       15.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       16.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are enjoined

and restrained by this Court.

       17.     Plaintiff is in compliance with 35 U.S.C. § 287.



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                                      PRAYER FOR RELIEF
          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 8,788,090 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: January 12, 2016                 Respectfully submitted,


                                        /s/ Jay Johnson
                                        JAY JOHNSON
                                        State Bar No. 24067322
                                        D. BRADLEY KIZZIA
                                        State Bar No. 11547550
                                        ANTHONY RICCIARDELLI
                                        State Bar No. 24070493
                                        KIZZIA JOHNSON PLLC
                                        750 N. St. Paul Street, Suite 1320
                                        Dallas, Texas 75201
                                        (214) 613-3350
                                        Fax: (214) 613-3330
                                        jay@kjpllc.com
                                        bkizzia@kjpllc.com
                                        anthony@brownfoxlaw.com

                                        ATTORNEYS FOR PLAINTIFF




                               CERTIFICATE OF SERVICE

 The undersigned certifies that all counsel of record who have consented to electronic service
 are being served with a copy of this document via the Court’s CM/ECF system per Local Rule
 CV-5(a)(3) on January 12, 2016.

                                            /s/ Jay Johnson
                                        Jay Johnson




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                                EXHIBIT A




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